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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

 UNITED STATES OF AMERICA,                 )
                                           )
                       Plaintiff,          )
                                           )    CRIMINAL NO. EP-11-CR-2728-KC
 v.                                        )
                                           )
 ANGEL OCASIO,                             )
                                           )
                     Defendant.            )


                 GOVERNMENT’S MOTION FOR DISCOVERY AND
                NOTIFICATION OF DEFENSE EXPERT WITNESSES

      COMES NOW the United States of America, by and through the United States

Attorney for the Western District of Texas and the undersigned Assistant United States

Attorney and files this Request for Notification of Defense Expert Witnesses, and would

show unto this Honorable Court the following:

      On January 22, 2013, the defendant filed a Motion to Suppress, relying on the

expert opinion of Tami Loehrs. [Doc. 85]. The Court ordered defendant to supply the

reports referenced in the Loehrs affidavit. On March 1, 2013, defendant filed some of

the ordered reports. [Doc. 106]. On March 8, 2013, at approximately 3:13 pm, just prior

to the deadline imposed by the Court for the Governments’ Response to the Motion to

Suppress. [Doc. 107]. The Report, as disclosed, is heavily redacted being only 16

pages of a listed 181 page report, and the pages as disclosed are also heavily redacted

and consists primarily of a regurgitation of the Superceding Indictment and the

Government’s discovery, along with a Glossary of Computer Terms. There is no report

of testing which would support statements made in the defendant’s Motion to Compel or
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the Loehrs declaration in support thereof. The Government therefore seeks discovery

of the full report prior to any suppression hearing in this matter and/or trial.

          Federal Rule of Criminal Procedure 16(b)(1)(B) and (C), requires disclosure of

such:

          (B) Reports of Examinations and Tests. If a defendant requests disclosure
          under Rule 16(a)(1)(F) and the government complies1, the defendant must
          permit the government, upon request, to inspect and to copy or
          photograph the results or reports of any physical or mental examination
          and of any scientific test or experiment if:

                 (i) the item is within the defendant's possession, custody, or control;
                 and

                 (ii) the defendant intends to use the item in the defendant's case-in-
                 chief at trial, or intends to call the witness who prepared the report
                 and the report relates to the witness's testimony.

          (C) Expert witnesses.--The defendant must, at the government's request,
          give to the government a written summary of any testimony that the
          defendant intends to use under Rules 702, 703, or 705 of the Federal
          Rules of Evidence as evidence at trial, if--

                 (i) the defendant requests disclosure under subdivision (a)(1)(G)
                 and the government complies; or

                 (ii) the defendant has given notice under Rule 12.2(b) of an intent to
                 present expert testimony on the defendant's mental condition.

          This summary must describe the witness's opinions, the bases and
          reasons for those opinions, and the witness's qualifications.

          While defendant has stated he has not determined whether Loehrs will testify at

    trial, he has relied upon her opinions in his “case-in-chief” relating to the Motion to

    Suppress. Based thereon, the Government respectfully requests the disclosure of the

    full report or an in camera review by this Court to determine whether the substance of




1
    The Government filed its Notice of Experts prior to the previous trial date.
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    the report relates to the matters raised in the Motion to Suppress, including but not

    limited to:

              •   “the forensic examination of Ocasio’s computer revealed clear and
                  indisputable evidence others did in fact use his computer” (Loehrs
                  Declaration, ¶ 7);

              •   The manner in which Loehrs alleges the Government undercover
                  computer system works and testing done in this or the “hundreds of
                  forensic examinations on cases involving under P2P investigations”2
                  (Loehrs Delcaration ¶ 19);

              •   The manner and method of search for the files indentified by CPS (Loehrs
                  Declaration ¶ 24)

          In the event the defendant elects not to comply with his disclosure requirements

in a timely manner, the Government will seek exclusion of any non-disclosed evidence

and/or witnesses pursuant to Federal Rule of Procedure 16(d)(2)(C) both at the time of

the suppression hearing, if held, and at trial.

                                                 Respectfully submitted,


                                                 ROBERT PITMAN
                                                 UNITED STATES ATTORNEY

                                           By:    /s/

                                                 J. BRANDY GARDES
                                                 Assistant United States Attorney
                                                 CA Bar No. 144770
                                                 700 E. San Antonio, Ste. 200
                                                 El Paso, Texas 79901
                                                 (915) 534-6884




2
  Although these reports were ordered to be disclosed to the Government, it received only two reports
relating to testing done in connection with one case on the lengthy list set forth in Paragraph 20 of the
Loehrs Affidavit. No reports were received in connection with the testing in United States v. Dillen, for
example, which is discussed in great length in the Loehrs Declaration (see ¶¶ 21-23) or the case of State
of Arizona vs. Lemuel Robson (¶ 26).
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                             CERTIFICATE OF SERVICE



        I hereby certify that on the 12th day of March, 2013, a true and correct copy of
the foregoing instrument was electronically filed with the Clerk of the Court using the
CM/ECF System which will transmit notification of such filing to the following CM/ECF
participant:

Michael Gorman, AFPD
Office of the Federal Public Defender

as attorney for defendant.

                                               __________/s/___________________
                                               J. BRANDY GARDES
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
                       Plaintiff,           )
                                            )   CRIMINAL NO. EP-11-CR-2728-KC
 v.                                         )
                                            )
 ANGEL OCASIO,                              )
                                            )
                      Defendant.            )


                  ORDER ON MOTION FOR DISCOVERY AND
                NOTIFICATION OF DEFENSE EXPERT WITNESSES

      ON THIS DATE came on for consideration the Government’s Motion for

Discovery and Notification of Defense Expert Witnesses [Doc. 109]. The Court, having

previously ordered disclosure of the expert reports referenced in the Defendant’s Motion

to Suppress [Doc. 83] and the arguments set forth in the Government’s Motion, is of the

opinion said Motion should be GRANTED.

      It is therefore ORDERED that the Government’s Motion for Discovery and

Notification of Defense Expert Witnesses [Doc. 109] is hereby GRANTED. Defendant

shall immediately disclose the entirety of the Loehrs Report [Doc. 107-1] to the

Government, but in no event later than _______________________________.

      Defendant is further ORDERED to immediately disclose the testing reports for all

tests and cases referenced in the Loehrs Affidavit on which defendant intends to rely in

connection with his Motion to Suppress by _________________________________. In

the event such is not disclosed, they shall be deemed stricken from the Declaration and

Motion to Suppress.
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SO ORDERED this ___ day of _____________, 2013.



                             _____________________________________
                             KATHLEEN CARDONE
                             UNITED STATES DISTRICT JUDGE
